  Case 2:17-cv-00715-DB Document 33 Filed 11/20/19 PageID.936 Page 1 of 2




M. CHRISTOPHER MOON (USB # 14880)
JACKSON LEWIS, PLLC
215 South State Street, Suite 760
Salt Lake City, UT 84111
(801) 736-3199 - Telephone
Chris.Moon@jacksonlewis.com
Attorneys for Defendant


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH




 TREVOR KELLEY,
      Plaintiff,                                            Case No. 2:17-cv-00715-DB
         v.                                              STIPULATION OF DISMISSAL
 PEI WEI ASIAN DINER, LLC, d.b.a. PEI WEI                        Judge Dee Benson
 ASIAN DINER,
     Defendant.


       IT IS HEREBY STIPULATED AND AGREED, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), and by and between the parties hereto, through their undersigned counsel, that

this case is hereby dismissed with prejudice, and with no award of attorneys’ fees, costs and/or

disbursements to any party.

       Respectfully submitted this 20th day of November, 2019


/s/ James K. Ord, III                              /s/ M. Christopher Moon
James K. Ord, III                                  M. Christopher Moon
The Ord Firm                                       JACKSON LEWIS PLLC
P.O. Box 16688                                     215 S. State Street, Suite 760
Salt Lake City, UT 84116                           Salt Lake City, Utah 84111
Tel: (435) 214-1433                                Tel: (801) 736-3199
James.Ord@theordfirm.com                           chris.moon@jacksonlewis.com
Attorneys for Plaintiff (signed with the consent   Attorneys for Defendant
of counsel)
Case 2:17-cv-00715-DB Document 33 Filed 11/20/19 PageID.937 Page 2 of 2




                                   2
